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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                              BRUNSWICK DIVISION


STACY MILLER,

               Plaintiff,                                 CIVIL ACTION NO.: 2:17-CV-144

       v.

CITY OF DARIEN, DONNIE HOWARD,
RYAN ALEXANDER, AND ARCHIE
DAVIS,

               Defendants.


                                     RULE 26(f) REPORT

       The attorney(s) and/or unrepresented parties listed below certify that:
            1) they have read the Court’s Rule 26 Instruction Order entered in this case;
            2) they have held a conference, in person or telephonically, pursuant to Federal Rule
               of Civil Procedure 26(f); and

            3) they have discussed the case and jointly prepared the following Rule 26(f) Report.

       Identify, for each party, the attorney(s) and/or unrepresented parties who attended the
Rule 26(f) Conference, the counsel or unrepresented parties who participated in preparing the
Rule 26(f) Report, and the date of the Rule 26(f) Conference:

       December 3, 2018
       For Plaintiff – Jamie Duguay (left firm shortly after conference – case now handled by
       Ryan Morgan)
       For Defendants – Emily Hancock
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I.    INITIAL MATTERS:

      A. Jurisdiction and Venue

         The defendant(s)

               ☐ does         ☒ does not

         contest jurisdiction and/or venue (for multiple defendants, identify which defendants
         contest jurisdiction and/or venue). If contested, such position is because:

         1) Jurisdiction:
         N/A
         2) Venue:
         N/A

      B. Immunity

         The defendant(s)

               ☒ has raised         ☐ will raise         ☐ will not raise

         an immunity defense based on:
         qualified immunity and sovereign immunity




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 C. Stay of Discovery Due to Motion to Dismiss, Transfer, or Remand

    If a motion to dismiss, transfer, or remand has been or will be filed, or if any party
    will otherwise raise an initial defense including lack of jurisdiction, improper venue,
    or immunity, state whether the parties wish to delay proceeding with discovery until
    those issues have been decided. If so, state (i) the earliest a motion to dismiss or
    transfer will be filed; and (ii) what, if any, initial discovery, limited to that issue, will
    be necessary to resolve the motion.

    Should any party seek a stay of discovery due to the filing of a motion to dismiss, the
    party must file a motion to stay and state within the motion whether the other parties
    join in, consent to, or oppose the motion.

    Not applicable.




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II.    SETTLEMENT:

       A. Settlement Efforts to Date

          The parties state:

             ☒       They have not yet taken any efforts to resolve this dispute.

             ☐       They have taken efforts to resolve this dispute, and those efforts generally
                     consisted of:

          Click here to enter text.


       B. Early Settlement Discussion

          Counsel certify that, as required by the Rule 26 Instruction Order, they have
          discussed the potential for settlement between themselves and explored early
          involvement in alternative dispute resolution with their clients, and:

             ☐       The parties are prepared to discuss settlement with the Court at this time.

             ☒       The parties will not be prepared to discuss settlement until: April 5, 2019.

          If the parties will not be prepared to discuss settlement until a later date, explain why,
          including what, if any, discovery the parties need in order to discuss settlement:

          The parties will not be prepared to discuss settlement until they have performed
          factual discovery, including exchanging written discovery and taking the depositions
          of the parties and any necessary non-party witnesses.




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III.    INITIAL DISCLOSURES AND SCHEDULING CONFERENCE:

        A. Initial Disclosures

           Rule 26(a)(1) disclosures:

                ☐ have been completed.       ☒ will be completed by December 21, 2018.

           Unless otherwise ordered, mandatory disclosures required by Federal Rule of Civil
           Procedure 26(a)(1) must be made within fourteen (14) days of the parties’ Rule 26(f)
           Conference. If any party is requesting additional time to provide disclosures, please
           explain why:

           The parties jointly request an additional four days to make their Rule 26(a)(1)
           disclosures as the primary attorney responsible for handling Plaintiff’s case has just
           departed from the firm representing Plaintiff, and it will not be possible for
           disclosures to be completed by December 17, 2018.


        B. Scheduling Conference

           As explained in the Rule 26 Instruction Order, the Court may hold a Scheduling
           Conference (to be attended only by counsel and any unrepresented parties) before
           entering a Scheduling Order. Ordinarily, the Court will allow appearance via
           telephone. If any party is requesting that the Court hold a Scheduling Conference
           prior to the issuance of a Scheduling Order, please state so below:

           No party requests that a scheduling conference be held.


           If a Scheduling Conference is necessary, it should be held no more than twenty (20)
           days after the submission of this Report. Should the Court deem a scheduling
           conference necessary, the parties are available for a Scheduling Conference on the
           following dates (if any party is not available until after the 20-day time period, please
           explain why):

           The parties are available on January 8 and January 9, 2019. Counsel for Plaintiff is
           not available prior to those dates because the attorney primarily responsible for
           handling the case recently departed from the firm representing Plaintiff, and the
           attorney taking over the case has existing work commitments prior to those dates.




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IV.    DISCOVERY

       Discovery will proceed more effectively and efficiently if the parties address discovery in
       the following sequential order:

             First: Accomplishing all fact-based written discovery, inspections, and
                    examinations under Rules 33 through 36 of the Federal Rules of Civil
                    Procedure, as well as the subpoena of documents, electronically stored
                    information, and other tangible things from third parties under Federal Rule
                    of Civil Procedure 45(d)(2);

          Second: Conducting discovery depositions of fact witnesses who have not been
                  designated as experts;

            Third: Making all expert disclosures; and

           Fourth: Conducting all expert depositions.

       Unless the parties show good cause to proceed otherwise, the parties must propose
       discovery deadlines that follow this sequential course. In other words, absent a
       specific showing of good cause, the parties should not propose one deadline to
       accomplish all discovery measures. Rather, the parties must propose sequential
       deadlines by which they shall successively accomplish each of the above four areas
       of discovery.

       If any party proposes discovery deadlines that do not follow the sequential schedule laid
       out above, please state the reason(s) why.

       The parties do not believe there will be any need for expert discovery in this case. Much
       of the information relevant to this case has been fleshed out in a similar related case,
       Robinson v. City of Darien et al., 2:17-CV-099, in which no expert discovery was needed
       or conducted. With the benefit of the information available to them from the related case,
       the parties are confident that expert testimony will not be needed in this case.
       Additionally, pursuant to Local Rule 26.1(d), the parties must complete all discovery
       within 140 days of the last answer of the defendants named in the original complaint.
       However, the Court will provide additional time upon a showing of good cause.

       If any party proposes discovery deadlines that extend beyond the 140-day period, please
       state the reason(s) why.

       The parties jointly request a sixty-day extension of the 140-day discovery period, as the
       attorney who was primarily responsible for Plaintiff’s case has recently departed from the
       firm representing Plaintiff. Consequently, although sixty days have already elapsed since
       the filing of the last Answer, no discovery has yet been performed.

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 A. Fact-Based Written Discovery, Inspections, and Examinations

    i.   Written discovery, inspections, and examinations under Rules 33 through 36 of
         the Federal Rules of Civil Procedure will be completed by March 7, 2019.

  ii.    The maximum number of interrogatories, including sub-parts, which may be
         served by any party on any other party, is: 25.

         If any party seeks to exceed the limit of twenty-five (25) interrogatories set by
         Federal Rule of Civil Procedure 33(a)(1), please state why:

         N/A

  iii.   Will any party seek to conduct any inspections of any land, premises, or other
         property under Federal Rule of Civil Procedure 34(a)(2) or 45(d)(2)? No

         If yes, please describe the anticipated inspection(s) and state whether the
         inspection(s) should occur during the expert discovery period rather than during
         fact-based discovery.

         N/A

  iv.    Will any party seek to conduct any physical or mental examinations under
         Federal Rule of Civil Procedure 35? No

         If yes, please describe the anticipated examination(s) and state whether the
         examination(s) should occur during the expert discovery period rather than
         during fact-based discovery.

         N/A




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 B. Depositions of Non-Expert Witnesses

    i.   Discovery depositions of witnesses who have not been designated as experts
         will be completed by: May 6, 2019.

  ii.    The maximum number of depositions (including all expert and non-expert) that
         may be taken by a party is: 10.

         If any party seeks to exceed the limit of ten (10) depositions set by Federal Rule
         of Civil Procedure 30(a)(2)(A)(i), please state why:

         N/A


  iii.   Depositions will be limited in duration by Federal Rule of Civil
         Procedure 30(d)(1), except the depositions of:

         N/A
         which, by agreement, shall be limited as follows:
         N/A




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  C. Expert Discovery

    i.   Does the plaintiff(s) anticipate designating, calling, or otherwise relying upon
         any expert witnesses? No

   ii.   Does the defendant(s) anticipate designating, calling, or otherwise relying upon
         any expert witnesses? No

  iii.   Plaintiff(s) shall serve any and all expert reports required by Federal Rule of
         Civil Procedure 26(a)(2)(B) and any and all disclosures required by Federal
         Rule of Civil Procedure 26(a)(2)(C) by N/A.

   iv.   Defendant(s) shall serve any and all expert reports required by Federal Rule of
         Civil Procedure 26(a)(2)(B) and any and all disclosures required by Federal
         Rule of Civil Procedure 26(a)(2)(C) by N/A.

   v.    The parties shall conduct any and all discovery depositions of witnesses who
         have been designated as experts by N/A.

         If any party anticipates any problems regarding expert discovery or any unique
         circumstances that the Court should be aware of regarding expert discovery,
         please explain:

         The parties do not anticipate any need for expert discovery and do not wish to set
         aside any period of time to perform it.




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  D. Agreed Discovery Procedures

    i.   Unique Circumstances

         Are there any facts or circumstances unique to this case that will make fact or
         expert discovery more difficult or more time consuming? If so, please explain
         such facts and circumstances and the actions the parties have agreed upon to
         address them:

         None known to the parties at this time.



   ii.   Phased Discovery

         Does any party propose that discovery be limited or proceed in phases? If so,
         please list each party making such a proposal and briefly explain the party’s
         proposal:

         (Phased discovery denotes discovery into one issue or set of facts first and then
         discovery into other issues or set of facts at a later time. Phased discovery does
         not include addressing fact-based discovery first and expert discovery
         thereafter. As explained above, sequentially addressing fact-based discovery
         measures first and expert discovery thereafter should be the normal course.)

         The parties do not request that discovery be limited or proceed in phases.




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  E. Third-Party Discovery

        Does any party anticipate that it will request a substantial amount of discovery,
        including the production of documents and other tangible things, from any
        individual or entity that is not a party to this action? No

        If so, please describe (i) any such third party and the discovery to be sought, (ii)
        any difficulties the parties anticipate in obtaining discovery from the third party,
        and (iii) whether the third party should participate in the scheduling conference.

        N/A




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       F. Electronically Stored Information

            By signing below, the parties certify that they have conferred together regarding the
            preservation and production of electronically stored information that may be
            relevant to the disposition of this suit as specifically required by the Rule 26
            Instruction Order. The parties are prepared to discuss discovery of electronically
            stored information with the Court at the Rule 26 Instruction Conference.

          i.   Do the parties anticipate any disagreements about electronic discovery? If so,
               please explain:

The parties do not currently anticipate any disagreements about electronic discovery, and agree
that any electronically stored information that currently exists and is likely to lead to the
discovery of evidence relevant to this matter shall be preserved by both sides.

         ii.   Do the parties anticipate that any special provisions are needed in the Scheduling
               Order with respect to electronic discovery? If so, please explain:

            N/A


        iii.   Do the parties otherwise seek to bring any issue regarding electronic discovery
               to the Court’s attention? If so, please explain:

               N/A




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  G. Privileged, Protected, and/or Confidential Communications and Information

      The parties certify that they have conferred together regarding any documents or
      information withheld due to claims of privilege, confidentiality, or other protections
      as required by the Rule 26 Instruction Order.

    i.   Have the parties reached an agreement regarding the procedures for asserting
         claims of privilege, confidentiality, or protection? No

         If so, please briefly describe such agreement:

         N/A


   ii.   Are there terms of any agreement regarding privileged, protected, or confidential
         information that the parties wish to have memorialized in the Scheduling Order?

         Not Applicable

         If so, please explain or attach any separate proposed order which the parties are
         requesting the Court to enter addressing such matters. Please include below, or
         in the attachment, a statement of good cause explaining the need for entry of
         such an order:

         N/A


  iii.   Are there any issues regarding claims of privilege, confidentiality, or protection
         as to which the parties have been unable to reach an agreement?

         No

         If so, please explain:

         N/A




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  H. Protected Health Information

    i.   Do the parties anticipate that this case will involve an individual’s medical
         records and/or protected health information, including any information that may
         be protected by the Health Insurance Portability and Accountability Act
         (HIPAA) and/or any state or federal privilege or protection for health
         information?

         No


   ii.   Has any individual whose protected health information could be relevant to this
         case executed a release allowing for counsel of the opposing party to obtain
         protected health information directly from health care providers?

         Not Applicable


  iii.   Have the parties reached any agreements regarding the protection of such
         information including any agreements regarding the further disclosure of such
         information?

         Not Applicable


   iv.   Are there terms of any agreement regarding protected health information that the
         parties wish to have memorialized in the scheduling order? Not Applicable

         If so, please explain or attach any separate proposed order which the parties are
         requesting the Court to enter addressing such matters. Please include below, or
         in the attachment, a statement of good cause explaining the need for entry of
         such an order:

         N/A


   v.    Are there any issues regarding protected health information as to which the parties
         have been unable to reach an agreement? No

         If so, please explain:

         N/A




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V.     MOTIONS

       A. Motions to Amend the Pleadings or to Add Parties

         i. The plaintiff(s)        ☐ does          ☒ does not

            anticipate the need to amend pleadings or add parties. Any motions to amend
            pleadings shall be filed by N/A.

        ii. The defendant(s)        ☐ does          ☒ does not

            anticipate the need to amend pleadings or add parties. Any motions to amend
            pleadings shall be filed by N/A.

            If there are multiple defendants and less than all defendants anticipate needing to
            amend pleadings or add parties, please indicate which defendants so anticipate:

            N/A


       iii. By Local Rule 16.3, all motions to amend pleadings or add parties are to be filed
            within sixty (60) days after the first filing of an answer. If any party is requesting
            more than this time, please state the reason(s) why such time is necessary.

            N/A


       B. Civil Motions (Except Motions in Limine)

          All other motions, including motions for summary judgment and motions to exclude
          expert testimony on Daubert and other grounds (but excluding motions in limine),
          shall be filed by: May 5, 2019.

          If any party is requesting a deadline to file motions (other than motions in limine)
          more than thirty (30) days after the deadline to complete discovery, please state the
          reason why such time is necessary:

          N/A




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VI.     PRETRIAL
        A. Pretrial Order

           The parties shall prepare and file the joint consolidated pretrial order by: July 5,
           2019.

           The Court generally provides sixty (60) days following the civil motions deadline to
           file the pretrial order. However, if a motion for summary judgment or other
           dispositive motion is pending at the time of the deadline, the deadline for filing the
           pretrial order is automatically extended to twenty-one (21) days after the Court’s
           ruling on the motion for summary judgment or other dispositive motion. If any
           party is requesting additional time (a deadline more than sixty (60) days following
           the civil motions deadline), please state the reason(s) why such time is necessary:

           N/A


        B. De Ben Esse Depositions

           The parties shall complete all depositions of all witnesses (whether fact or expert) that
           are de ben esse depositions (taken not for discovery but for testimony to be used at
           trial) by: August 3, 2019.

           The Court generally provides thirty (30) days before the pretrial order deadline to
           complete de ben esse depositions. If any party is requesting additional time, please
           state the reason(s) why such time is necessary. The parties are cautioned that they
           will be required to specifically designate all testimony that they seek to offer by
           deposition as well as all objections to such testimony in the consolidated pretrial
           order.

           N/A




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VII.     ADDITIONAL MATTERS

         Please state any other matters to which the parties stipulate and/or which the court should
         know or consider before entering the Scheduling Order:

         None at this time.



Dated: December 17, 2018




Pro Se                                                Pro Se



         /s/ Ryan Morgan                                       /s/
         Counsel for Plaintiff(s)                              Counsel for Plaintiff(s)



         /s/ Emily R. Hancock                                  /s/ Click here to enter text.
         Counsel for Defendant(s)                              Counsel for Defendant(s)



         /s/ Click here to enter text.                         /s/ Click here to enter text.
         Counsel for Defendant(s)                              Counsel for Defendant(s)




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